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                                                                [Dkt. No. 6]

                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE

  ATILIS GYM BELLMAWR, LLC,

                        Plaintiff,
                                         Civil No. 20-6347-RBK-KMW
        v.

  PHILIP D. MURPHY, et al.,

                        Defendants.

                                     ORDER

      This   matter    having   been    brought      before   the    Court   by

Christopher Arzberger, Esquire, of Russell Friedman Law Group LLP,

counsel for Plaintiff, Atilis Gym Bellmawr LLC, for an Order

allowing James G. Mermigis, Esquire, to appear and participate pro

hac vice; and the Court having considered the moving papers; and

there being no opposition to this application; and for good cause

shown pursuant to Local Rule 101.1(c), United States District Court

for the District of New Jersey;

      IT IS this 22nd day of June, 2020, hereby

      ORDERED that James G. Mermigis, Esquire, a member of the Bar

of New York, inter alia, be permitted to appear pro hac vice in

the above-captioned matter in the United States District Court for

the   District   of   New   Jersey   pursuant   to    Local   Rule   101.1(c);

provided, however, that all pleadings, briefs and other papers
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filed with the Court shall be signed by Christopher Arzberger,

Esquire, or another attorney associated with Russell Friedman Law

Group LLP, who is a member in good standing with the Bar of the

Supreme Court of New Jersey and the Bar of this Court, who shall

be held responsible for said papers and for the conduct of the

case, and who shall be present before the Court during all phases

of this proceeding, unless expressly excused by the Court, as well

as be held responsible for the conduct of the attorney admitted

pro hac vice pursuant to this Order; and it is further

      ORDERED that, pursuant to L. CIV. R. 101.1(c)(2), James G.

Mermigis, Esquire, shall pay the annual fee to the New Jersey

Lawyers' Fund for Client Protection in accordance with New Jersey

Court Rule 1:28-2 within twenty (20) days from the date of the

entry of this Order, enclosing with payment a completed Form PHV-

15, which can be found at njcourtsonline.com; and it is further

      ORDERED that, pursuant to L. CIV. R. 101.1(c)(3), James G.

Mermigis,    Esquire,   shall   make   a   payment   of   $150.00   on   each

admission, payable to the Clerk, United States District Court; and

it is further

      ORDERED that James G. Mermigis, Esquire, shall be bound by

the General and Admiralty Rules of the United States District Court

for the District of New Jersey, including but not limited to the

provisions of Local Rule 103.1, Judicial Ethics and Professional
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Responsibility, and Local Rule 104.1, Discipline of Attorneys; and

it is further

      ORDERED that, pursuant to L. CIV. R. 101.1(c)(4), James G.

Mermigis, Esquire, shall be deemed to have agreed to take no fee

in any tort case in excess of the New Jersey Court Contingency Fee

Rule, Rule 1:21-7, as amended.

                                   s/ Karen M. Williams
                                   KAREN M. WILLIAMS
                                   United States Magistrate Judge

cc:   Hon. Robert B. Kugler
